Case 4:23-cv-00515-RGE-WPK. Document 1-2 Filed 12/20/23 Page 1 of 23
E-FILED 2023 NOV 21 4:24 PM POLK - CLERK OF DISTRICT COURT

IN THE IOWA DISTRICT COURT FOR POLK COUNTY

JantzenMasm CASE NO.:
Petitioner,

ORIGINAL NOTICE

Towa Student Loaii Liqutatiy Corporation, a
Respondent. el

TO THE ABOVE-NAMED Ri PONDENT: .

You are notified that. a peti i for custody and visitation was filed in the office of the

clerk of this court naming you ag the Responident i in this action. A ¢ copy of the petition (and any
documents filed with it) is attach d. to this notice. The attorney for the Petitioner is Jayme
Wiebold, Iowa Legal Aid, 666 Walnut Street, 25th Floor, Des Moines, Iowa 50309. That
attormey’s phone number is (S15) 400-3641, the flix number is (515) 244-4618.

You: must file'‘an Answet : Motion v with the clerk of court in the above county within

20 days after you receive this Oniginal Notice. If you do not file an Answer or Motion within 20
days after receiving this Original Notice, judgment by default may be rendeted against you for
the relief demanded i in the peti tion
This, case has been fi ed.
through the lowa Judicial Brané

log in ‘and password for filing ‘an viewing’ ‘documents i in your cas

a county’ that’ uses electronic filing. You must register to eFile

bsite at https: hweww. jowacourts. state.ia.us/Efile and obtain a

‘and for receiving service and

notices front’ the court. Genéra ‘and information on electronic filing are contained in Towa

Court Rules Chapter 16. Infortnation regarding requirements related to the protection of personal

information i in court filings i is contained i in Jowa Court Rules Chapter 16, Division VI. If you are

unable to proceed electronically, s receive permnission from the court to file documents in

paper. Contact the clerk of coi e county where the petition was filed for more information
on being excused from electroni¢’ filing. .

If you require the assistance of auxiliary aids or services to participate i in court because of
a disability, immédiately call your district ADA, coordinator at 515-286-3394. If you are hearing

impaired, call Relay Towa TTY at 1 “800-735-2942,

Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 2 of 23 |

E-FILED 2023 NOV 21 4:24 PM POLK - CLERK OF DISTRICT COURT

Clerk of Court
Polk County Courthouse
Des Moines, Towa

IMPORTANT: YOU ARE ADVISED TO SEEK LEGAL A ADVICE AT ONCE TO PROTECT
YOUR INTERESTS.
re Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 3 of 23

E-FILED 2023 NOV 28 9:59 AM POLK - CLERK OF DISTRICT COURT

lowa Judicial Branch iw ase CaseNo.  LACL157263
2 ws Couniy Polk

Case Title JANTZEN MASON VS IOWA STUDENT LOAN LIQUIDITY CORP.

You must file your Appearance and Answer on the Iowa J udicial Branch eFile System, unless the attached Petition and
Original Notice contains a hearing date for ‘your iF appearance, or unless the court has excused you from filing electronically
(see Iowa Court Rule 16.302). ws

Register for the eFile System at www. iowacourts, state, ia. us/Efile to file and view documents in your case and to receive
noticés from the court, ,

For general rules and itiformation « on olectronic filing, r refer t to the Towa Rules of Electronic Procedure in chapter 16 of the
Iowa Court Rules at WWW, legis. iowa. ovidoeslACOIC CourtRulesChapter/ l6.paf.

Court filings are ¢ piblic documents and may contain personal information that should always be kept confidential. For the
rules on protecting personal information, refer to Division VI of chapter 16 of the Iowa Court Rules and to the lowa
Judicial Branch website at www. jowacourts, zov/for-the- ublic/representing-yoursel f/protect-personal-information/.

Schedtiled Hearing: —

If you need assistance, to participate in court daa to a disability, call the disability : access coordinator at (515} 286-3394 .
Persons who. are hearing « or speech impaired, may, call Relay lowa TTY (1-800-735-2942): For more information, see
www. jowacourts. gov/fot-the-publiciaday. “Disability access ‘coordinators cannot provide legal advice.

District Clerk of Court onfby Clerk's Designee of F Polk a . County
‘si Valeri Mueller |

Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 4 of 23

E-FILED 2023 NOV 21. 4:24 PM POLK - CLERK OF DISTRICT COURT

IN THE IOWA DISTRICT. COURT IN AND FOR POLK COUNTY

Jantzen Mason,

Petitioner, — . - “Case! No:

Iowa Student Loan Liquidity Corporation, {Petition

Respondent oe Tp
Background

1. "Entry, of juidgment on has feng been ‘viewed with judicial distaste. Such

judgiienis’ ‘have’ been’ a :

is ‘the loosest way of f binding a man' s s property that was
‘devised in any civilized ers.,

45,56 (N3./App. Div. 3
2. A confession of jtidgin

that operates as the civi

though these remedies ¥ we ‘hot 1 aie available: ‘Borrowers, ‘itepresented by counsel and

receiving, no consideratio f nah did not understand that these agreements constituted
a ‘complete \ waiver of the ‘due process rights, atid’ ability to raise viable. defenses. When
n ISLLC filed the confessions with the clerk of court. The

sroeable, just like a judgment. issued after trial.

borrowers missed a pa

confessions became i

5. ISLLC used thése confessions to” gaihish wages and dccowits, as well taking other harsh

collection actions - all. W pout any advance notice, without any supervision or review by
a court, without the opportinty to raise a defense c or counterclaim, and without any

Opportunity to Contest TSLLC’ s claims, we

Case 4:23-cv-00515-RGE-WPK Document 12 ‘Filed 12/20/23 Page 5 of 23

E-FILED 2023 NOV 21 4:24 PM POLK - OLERK OF DISTRICT COURT

6. As recognized in commentary to the Uniform Consuni Credit Code more than 50 years
ago, “the great majority of States ‘prohibit.

. “auth rizations. to. confess "judgment, ”
Comment to Uniform Consumer Credit Code Sec. 3. 306 (1978).

7. In the last half century, 13 States have abolished the’ use of authorizations to confess

judgment entirely. Many otliets have reformed th in B. laws to provide additional

protections, especially for unsophisticated. ‘patti 3 CO gamers. Based on state
the Federal Trade Commission,

the prevalence of confessions,’ “at® “Teait 1. ti ions - with unsophisticated and

reforms, litigation, and action by fedetal encies

unrepresented parties, has greatly: receded throu I

8. Alas, this has not been so in Towa. The; vers
sane language appearing in
at, Abraham Lincoln's father

which governs confessions of judgment, has ef
Towa’ s: first state code enacted i in, 1851. This yi
died, the second year of Millard Fillm 0 ‘ ‘
“of the 14", Amendment to the U ited St
‘. atfcation, Chapter: 616 has 2

on 1 due © process grounds.

676. LJ udgment by confession—how entered

A judgment by confession, without action, may be ei ‘by the clerk of the district
cour, co tg ty Le kere ge! vie ye Hage ty eb

676.2. For or money only-enlie ih

. The Judgment-can | be. only: { for money. due. or: due,. or to secure:a person

against contingent li liabilities o on n behalf of the defendant, and must be for. a i specified

676.3. Statement

A statement in writing must ‘be made; signed, and verified iby the defendant and
filed with the clerk, to the following. effet Pe

1 For perspective, this is only 61% of the nuinber of words contained i in the studio version of
Electric Light Orchestra’s 1979 hit “Don’t Bring Me Down. we

2

Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 6 of 23

E-FILED 2023 NOV. 21 -4:24 PM POLK - CLERK OF DISTRICT COURT

1. If for money due’o Or r to ‘become due, it must state concisely the facts out of which —
the’ indebtedness arose, and. that the sum confessed therefor i is justly due, or to
become due, as the © case’ ¢ may be. cs

Frick Col; 408 U. & 1
adlrdssed hibit

poise iaee the caveit at!

“EThis] holding -
example, where
“* bargaining j power,

controlling piccodént for other facts of other cases. For

ntract is one of adhesion, where there is great disparity i in

where the debtor receives nothing for the cognovit provision,
ray. ensue.

Td: at 188. The Cou faith eld that, ‘éyen, where a confession of judgment statute itself
"was: facially constitu

: particular case if the ¢ nf

especially i in situations involving ‘unequal bargaining power and lack of consideration. Id.
12. Swarb was a challenge to'Pe rins}
constitutionality. of. that

fem"on. 1 ite’ ‘face. 405 U. Ss. at 200. The Coutt again carefully

limited itself fo narrow cir uimstances' where parties had equal bargaining power. Id. at 201.

Part’ of the: “underlying

cil ‘may: be: ‘unconstitutional ‘accordinig to the facts of a

D. as ‘not ‘Voluntarily; intelligently, and knowingly given —

Ivania’ s cognovit system and, like Overmyer, ‘upheld the

ion in Swarb, ‘that. a more limited élass of low-income

consumers challenging the constitutionality of the statute as applied to them could proceed,

was unchalleriged and thus allowed to remain intact by the Court. Id.
Case 4:23-cv-00515-RGE-WPK Document 1-2 ‘Fited 12/20/23 Page 7 of 23

E-FILED 2023 NOV 21 4:24 PM POLK - CLERK OF DISTRICT COURT

13. The statutes facially upheld in these two cases sand s state interpretations of those statutes

differed in many respects from lowa’s.

a. The Pennsylvania statute upheld in Swarb. provided that conditional confessions

gta
_ BP,

‘Overmyer, 405 U. 8. vat 189. ‘@ouglas, J
Rebman, 158 N.E.2d 366, 375 (Ohio 1959).

(c.g., those styled as payment plans) couldn’t be filed without serving a complaint.

Id. at 193-94, Notice was required immiédiate

fler judgment was entered, and

there were specific, effectively non-time-barted ‘processes for challenging the

confession after entry. Id. Iti is also notabl

A 972, there was effectively no

wage garnishment in Pennsylvania, which Temains true with limited exceptions
today. See 42 Pa. C.S. § 8127. .

Ohio’s statute, similarly, had additional protections. that do. not. appear in Iowa’s

statute, For example, post-judgment notice was required. Overmyer, 405 USS. at
182. The confession was to be produced “t ‘the court, ” rather than the clerk. Jd. at
175, n.1. Cf Iowa Code § 676. 3. Outside of the statute itself the, Court recognized

- -that the standard employed by the Ohio Supreme Court for re-opening a confession

of judgment case was. very liberal:

Or there is ‘credible evidence supporting, the defense . | from vihich

the court to. suspend the judgment and! ‘permit, the. issuc raised by the
pleadings t to be ‘tried aby a Jury, or, if a Jury is waived, by. the court.

i - eoeimring) (quoting Livingstone y.

[4. In the same term as Overmyer and Swarb, the: Court: aid out due process: minima for

unsophisticated consumers in a different context: prejudginent replevin. Fuentes ¥. Shevin,
407 U. S. 67 (1972). The Fuentes Coutt noted that these matters, ‘almost exclusively

involving financing companies against pro SE Jow-iicome debtors, were “a far cry from

Overmyer’”’ in that:

There was no bargaining oF over contractual ‘erm between the parties who, i in any
event, were far from equal in bargaining | power. ‘The purported waiver provision
was a printed part of a form-sales contract and a nécessary condition of the sale.
The appellees made no showing whatever that the appellants were actually aware

ot made aware of the significance of the fine print now v relied upon as a waiver of

constitutional Tights. a

Id. at 95.

Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 8 of 23

E-FILED 2023 NOV 21,4:24 PM POLK - CLERK OF DISTRICT COURT

15, Subsequent facial challenges to confession statutes reached different conclusions, based in
part on differences. between: ‘the. statutes ‘themselves.

16. Some states. invalidated their statutes because their statutes were less protective than those
_ reviewed. in, Overmyer. an Swarb,, For: example, in Isbell v. County of Sonoma, the
| California Supreme Court ind that former California Code of Civil Procedure §§ 1132-
1135 contained “insufficient safeguards to assure that the debtor in fact executed a
“voluntary,. knowing, and intelligent’ waiver. ”'577 P.2d 188, 189 (Cal. 1978).

17, California’ s statute circa ‘| 978; was enacted the. same. year as the predecéssor to Iowa Code

Chajiter 676 and uses lan ety. ) similar (including some verbatim passages) to Iowa’s

current. law. Id. at 189
18. Isbell distinguished: the cy
of. judgment were ever ct Stitational — and the narrower question of whether a confession
statite had adequate safe ds to « determine. whether a waiver was indeed valid under the
voluntary, intelligent, and knowing, or whether such a waiver

by the meré:filing of a‘document witli'the cletk. Id. at 192. The

terms of of Overmyer, i.é. W:
simply be présum
four atutory procedure upheld in Overmyer was not nearly as harsh

iu operation as s the Callifo procedure at: issue”, given the modest protections available to

odtisamers in. Ohio. Td.

19, Moieo} ver, the. Isbelt cour found that “the debtor’s opportunity to seek post-judgment

ef ¢ oes tutionality of a ite entered without a valid waiver[.]”

1d. 194. lade

20. Ulimately th the Court i :
Amendment, holding’
upon a document wh h: is rdinarily insufficient. to demonstrate ‘a valid waiver..

. See also ¢ Osmond v. Spence, 359 F.Supp. 124 (D. Del. 1972).

that their confession of judgment systems had additional

is ck doven the’ statute asa fnoial violation of the Fourteenth

ifomnia pidcedure “requirfing] the clerk to enter Judgment

constitutionally defectiv
21. In: contrast,’ other Statés
protections not present’ in the. 1978 California code (or: ‘present-day Towa), which gave
judgment debtors a reason
Perdun, 288 N. Wd 165 (\

including setting aside for excusable neglect, preserved constitutionality of the statute).

ride to ‘chiillenge invalid confessions. See, e.g., Meier v.

1980) (liberal and not time-batred post;judgment remedies,

itutional ‘question raised in Overmyer — whether confessions
Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 9 of 23

E-FILED 2023 NOV 21 4:24 PM POLK - CLERK OF DISTRICT COURT

22. Most states, however, headed off such challenges: through legislative action cither
abolishing confessions of judgment or building in additional due process protections.

23, Unlike the statutes upheld in Overmyer and Swarb and like California’s prior ‘statute in
Isbell, lowa’s statute does not require any notice to be provided to the judgment debtor and
does not prescribe any process-to test the validity 0 of the waiver, before or after judgment
entered. See generally lowa Code Chapter 676: e

24. Admittedly, the Iowa Legislature - ~ like: California a the time of Isbell? — has enacted

narrow limitations on authorizations to confess judgment i in two areas, both in connection
with the adoption of uniform acts protecting vulnetable consumers, .

a. Residential rental agreements may not authorize a person to confess judgment for

a claim arising out of that agreement. lowa Code 562A. 11(1)(b). This provision

tracks verbatim the language of Section 1 403(8)(2) of the 1972°version of the

Uniform Residential Landlord Tenant ‘Act,’ conitientary for which cites a similar

-provision in Section.2.415 of the 1968 version’ ofthe Uniform Consuiner Credit

ae : eT et
reo ue &
*

.b. -lowa’s version of. the Consumer Credit Co presents’ ‘a weaketied version of the
1968’s UCCC prohibition, in that it excludes ¢ :

a claim arising out ofa consumer credit transaction, Towa Code § 537.3306.

mfessions * ‘executed after default ort
&
25. The very limited protection for’ consumers in Towa c ode" 537.3306 does not address the
fundamental facial and as-applied constitutional problems created: by Chapter 676. Seé
Zsbell, 577 P.2d at 192. Moreover, our sister courts have found the distinction between a
confession obtained after rather than béfore default irrelevant to the constitutional analysis —

addressed below. Underwood F armers Elevator v v. : Lethon, 460 N. W.2d: 71 L(N.D. 1990):
_ Chapter 6 76 ’s Facial Constitutional Problems

26, In Fuentes, The United States ‘Supreme Court summarized the “central meaning of
procedural process” as follows: oe

[plarties whose tights are to be affected are : entitled ¢ to be heard; and in order that
they may enjoy that right they must first be notified. Thi is equally fundamental that
the right to notice and an opportunity to be heaid ‘ must be granted a ata meaningful
time and in a meaningful manner. 2, :

? Isbell, 577 P.2d at 191.

Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 10 of 23

E-FILED 2023 NOV 21'4:24 PM POLK - CLERK OF DISTRICT COURT

407 U.S, at 80 (intemal quotations omitted). -
27. A fundamental requirement of ¢ due process is the opportunity to be heard at a meaningful
time, and in a meaningful, ‘manner, Mathews v. Eldridge, 424 U.S. 319, 333 (1976). In

general, to determine whether the basic requirements of due ” process have been met, a court
must. weigh; .

a. the private. interes that wi will be ° affected sd by the official action; - -
ab. . the risk of an, ei eo “deprivation of such interest through the procedures used,
. = ond probable ‘alu y..of additional | procedural safeguards; and

1; oN. w2d 71 (WD. i990) (“We conclude that in order to
r requirement. of a case-by-case, fact-specific review, it is
n i to" determinie whether Leidholm voluniatily, knowingly,

his 5 due-process tights to notice’ and a a hearing’ ‘when he

denied. in “extr

» beatng before: ej ‘i

“wet

Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 11 of 23

E-FILED 2023 NOV 21 4:24 PM POLK - CLERK OF DISTRICT COURT

c. No opportunity to confront witnesses. Goldberg v. Kelly, 397 US, 254, 269
(1970) (“In almost every setting. where ‘important ‘decisions turn on questions of
fact, due process requires an opportunity to’ confront and ofoss-examine - adverse
witnesses.”) NNER

d, No opportunity to otherwise vacate a wrongfully entered seogmen by
confession. Isbell, 577 P2d. at 194- 95. See. also: Overmyer, 405 U.S. at 188-90

(discussion in both majority and coitcurre ppholding facial constitutional

validity of confession statute, ‘in part based on fact that in Ohio trial courts must

vacate a judgment by confession upon a showing of a valid defetise).

¢. No judicial supervision of the process of estal ishing the judgment, which by
statute begins and ends solely in the hands: of the clerk of court and the judgment
creditor themselves.:North Georgia Finishing, The: v. Di- Chem; Inc., 419 U.S, 601
(1975), See also W.T. Mitchell v, Grant, 416 US. ‘600; 617-18 a9).

- As-Applied Constitutional Problems and S utory Issues

29. Even if. Chapter 676 is facially constitutional a particular confession may nevertheless fail

. confessions — i.e., was it knowingly, intelligently, r

on due process grounds if it, was, not obtained by. the: same, standards governing criminal

luntarily- ‘given. Overmyer, 405

. US. at 187; see also Lamberts v. Lillig, 670 N. W.2d I 9, 134 (lowa 2003) (by analogy to «

30.

criminal confession jurisprudence, waiver: of civil. constitutional -parental caretaking
interest invalid where waiver document’ and. discussion. ‘was “relatively informal” and
“relatively informal, with little if any discussion of. the legal ramifications-—much less the . ‘
more specific constitutional ramifications—of i its signing”).
In the context of criminal confessions, undue. influence will invalidate a confession,
Coerced confessions are generally not. ‘considered fe ‘be- ‘voluntary. See, eg., State v.
Quintero, 480 N.W.2d 50 (lowa 1992) (statements that defendant’ s nephew would be tried
as adult as co-conspirator and face physical and sexual abuse in jail invalidated ensuing
confession as involuntary). Similarly, explicit or even implied promises of ieniency render
criminal confessions involuntary and thus invalid, See, eg, ‘State v. Mullin, 85 N.W.2d 598
(Iowa 1957); State v. McCoy, 692 N.W.2d 6 (lowa 2005). Failure to provide proper
Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 12 of 23

E-FILED 2023 NOV 21 4:24 PM POLK - CLERK OF DISTRICT COURT

disclosures so that a defendant imderstands the legal significance of their decision will also
invalidate a criminal confession. See, é.2., ‘Miranda. v, Arizona, 384 U.S. 436 (1966).

31. In a civil context, courts: have: also recognized the following factors in invalidating

_ confessions of judgment}.

“ontrast Overmyer, 405.U.S, at 186 (noting borrower’s
conclusion that “(this is not a-case of unequal
é ching’ "with Fuénites, 407 U.S. at 95 (noting borrowers’

ners ipported conclusion that parties “were far

( f ihe parties: was, significantly imbalanced, and the contract .
Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 13 of 23

E-FILED 2023 NOV 21 4:24 PM POLK - CLERK OF DISTRICT COURT

cognovit or confession of judgment :.. or other waiver of the right to notice and the
opportunity to be heard in the event-of suit or process thereon.” 16 CER. § 444.2; Trade
Regulation Rule: Credit Practices, 49 FR 7740-01-(March 1, 1984).

35. The FTC’s extensive investigation into confessions of judgment lead to the following
conclusions about consumer injury caused. by the practice: Re

-- Cognovit clauses typically are worded in ‘arcané ‘language and may appear in
small print. Record evidence supports the conclusion that debtors are unaware that
they have agreed to such clauses and that th tive due process rights by doing’
so. When debtors receive notice of a judgment entered against them, they may not
understand its import or that they must act affirmatively to raise any defenses
against it. This problem is exacerbated by the fact that many States. .° do hot require
notice informing the debtor of the right to con est the judgment or the’ grounds for
doing so. As a result the debtor may fuil to respond despite having valid defenses
to the judgment. The. rulemaking ‘record . shows. that judgments entered by
confession frequently are invalid on their face, It also shows that debtors frequently
have some defense to the judgment. Dol EE Bae

When debtors aré not apprised of their rights and therefore fail to challenge facially
invalid judgments or fail to asset valid defenses, the consumer injury is clear. The
. Judgment. debtor's property.may he taken in satisfaction.of a claim that would not
survive. judicial scrutiny ata heating: on ‘its Merits."Logs of this-property causes
economic hardship, since :the debtor loses,-both its:-use. and: any equity in it.
Moreover, consumers must replace any essential tems that are seized, usually at a

greater cost than they were credited with for the seized property... °°":

Even when debtors understand théir right to challenge the entry of judgmient, post-
judgment remedies ... do not make them whole: Thé procedure for reopening a
judgment is complex and debtors ate unlikely to succeed without incurring the cost
of biring an attomey. ... Such costs are ‘not neééssarily incurred in a trial de novo.

In a proceeding to reopen, the debtor may assert the same affirmative defenses that
could have been used in defending against. an‘ act on on'thé underlying claim,
However, in a proceeding to reopen the burden and expensé of instituting litigation
shift from the creditor, where they would li¢ absent the confession of judgment, to
the debtor. Because of the relative ease with which confessions of judgment may
be entered, creditors may. be ternpted to use’ them’ indis¢riminately. To the extent
that consumers must institute legal action to defend against unwarranted claims,
they suffer considerable economic injury through the costs that they must incur, —

Although consumers with meritorious defenses may ultimately succeed in vacating
judgments against them, they are deprived of thé full use of their property during
the process. ... Until such a lien is dissolved, the consumer’s ability to'use the
property for collateral or to dispose of Jit is, significantly impaired. Moreover, .
because the lien is effective whether or not riotice is mailed to or reaches the debtor,
debtors may learn of its existence only at the precise-point at which they seek to
use the property for such purposes. By the time debtors succeed in dissolving the
lien, the opportunity for which they intended to use the property may have passed.

10

Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 14 of 23

E-FILED - 2023 NOV 21:4:24 PM POLK - CLERK OF DISTRICT COURT

... Accordingly, we. find ‘that the use of cognovits causes substantial consumer
injury. oo

id. (emphasis added).

__ Tovna Side Loan m Liquidity Corporation ASLO)

36. ISLC, a a private nonpro arpliration,: was. created i in 1979 by proclamation of Governor
Ray i in response to. Secti 2.105. of, the federal Tax Reform Act of 1976. PL 94-455, Sec.

2105. : The Tax Reform Ac uraged, the growth, of. state-based secondary student loan

of f tax-exempt bonds by not-for-profit organizations
‘access to student loans. Iowa Code § 7C.4A(3).

onprofit organization, it maintains strong connections to
ental entities. For example, the by-laws of ISLLC have
nat ts board i is. chosen by.the Governor,’ and ISLLC has
he years ‘with the. lowa College Student Aid Commission

ition. to being strongly connected to. State ‘government

https://www.legis.iowa.gov/does/ abe IO, 2008) cin pdf. ! oe
Testimony of Robert Shireman'b é the Joint Government Oversight Committee of the Iowa
Legislature (October 29, 2007) https: www.legis.iowa .gov/docs/publications/SD/7087.pdf

i1

Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 15 of 23

E-FILED 2023 NOV 21 4:24 PM POLK - CLERK OF DISTRICT COURT

the case. Furthermore, these marketing practices did not adequately promote federal loans
or ensure that federal loan eligibility had. been exhausted, 7.
39. These loans have been aggressively collected, long ; after the statutory limitation periods
“have expired, in a variety of ways including, as here, by procuring judgments through .
confession. These confes sions were framed by ISLLC or its agents to debtors as “settlement

agreements.” Borrowers were induced into signing these agréements when ISLLC or its.

agents threatened them with garnishment, ‘often’ fo: Joans’ that ¥ were riot backed up with
adequate documentation, beyond the statute of limitations, ors subj ect to other defenses.

40. Hundreds of these confessions were: later filed : over the.é ensuing years, sometimes leading
to surprise garnishments with potentially devastatiig effects, ‘For. example, a former client
of Iowa Legal Aid who was in this exact position was featured on a CNBC story i in May

2020.* This case resulted in return of funds garnished anid a satisfaction of judgment, after

pointing out to the private collector both the age of ihe debt and the constitutional problems

with the confession of judgment process, «

.. 41. Unfortunately, however, this: unfair: deceptive; and it constitutional practiée ‘continues to

‘the present day, necessitating the filing ‘of this lavrsuit oe

42. The Plaintiff Jantzen Mason, is 39 years old and ‘aTesident of Omaha;: ‘Nebraska.

43. Mr. Mason is currently subject to a $6, 716. 25 judgment i in, favor of ISLLC entered by
confession on July 19, 2016 in Polk County. No. LACL 135604.

44, Upon information and belief, this alleged debt refers to a Partnership Loan first disbursed
on September 2, 2004. The loan was taken out at Vatterot College, which Mr..Mason only
attended for one week.

45. Based on ISLLC’s documentation filed in LACL135604, Mr, Mason signed a confession
of judgment on June 21, 20 12, about 8 years after the loan itself y was disbursed. Mr. Mason

does ‘not recall signing this document.

"Issue Review: fowa Student Loan Liquidity Conporation, Io
Fiscal Services Division (October 8, 2019) ae
https://www.legis.iowa. gov/docs/publications/IR/1050283 ae fe :
* https://www.cnbe.com/2020/05/ LI /debt-collectors- rs-are-leveragin 2-the-courts-more-than-ever-
before.html Py ie BES SS

egislative Services Agency

12
Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 16 of 23

E-FILED :2023-NOV 21°4:24 PM: POLK - CLERK OF DISTRICT COURT

46. Mr. Mason does not rem bet. Signing the confession of judgment. He does remember
being contacted. by mail | ‘telephone by: agents: of: ISLLC. These agents threatened to
garnish his bank account: fi -- Mason received no consideration for signing the confession.

47. The confession provided tha Mr. ‘Mason owed. ISELC $6,716.25 ‘on the balance of the

. Partnership, Loan and’ da i separate” ‘settlement agreement.” ‘Upon information and

5A, Upon information and belic Mv - Mason would have raised the following defenses and

. counterclaims had she been provided proper notice and hearing rights, including but not

limited to the following

ate notice to cure ¢ required by lowa Code 537.5111

tgrounds for bo d missal under lowa Code 537. 5 110(7) and a counterclaim

x ID@CH; -

b. Unlawfill deb colle 01 under fi the Towa Debt Collection Practices Act and
"federal Fair De t tCol

under Towa Code

tion Practices Act;

. 13
Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 17 of 23 -
E-FILED 2023 NOV 21 4:24 PM POLK ~ CLERK OF DISTRICT COURT

ce. That the action was barred under the Statute of, Frauds, for failure to incorporate

the essential written terms.of the contract i in writings

d. -That the action was barred under the applicab statute of limitations;

&. Failure to provide sufficient documentation to bv ISLLC’s claim.

COUNTI- DECLARATORY ei atte” a

56. A judgment entered without jurisdiction i is subject i
JC. Blunk Construction Co, 112 N, W.2d 829, 83
judgment has been satisfied. i :

attack. City of Chariton v.
62). This is is true even if that
57. A collateral attack on a judgment beyond the, one-y riod for a petition t to vacate may
be brought i in an independent equitable action. Id. ‘Se
N.W.2d 216 (lowa 1976); Johnson v, Mitchell, “489°

void judgment i is. subj ect to attack at any time: -withon oO the rules governing vacating
judgménts, Claeys ¥. Moldenschardt, 148 Nw: ad 4 Towa 1 1967). .

5 8. A confession ‘of judgment filed pursuant to Towa. Code Chapter 676 is: “void for lack of ~

* . £ Rosenberg v. Jackson, 247
2d 411 (lowa Ct. App. 1992). A

personal jurisdiction i in that-it was entered without notice. or hearing, See, €, eg, In re SP,
672 N.W.2d 842 (Iowa 2003). ee
. 59, These flaws additionally render Chapter 676 ‘facially unconstitutional, as.a 1 denial of due
process of law under the 14 Amendment of the United States Constitution and Articte I,

Section 9 of the lowa Constitution, as the antiquated di sparse language of that chapter

categorically does not provide adequate safeguards for a courtt to be able to assess whether
a confession of "judgment was given voluntarily, intelligently, and knowingly.

60. The particular facts of this case. also. render’ the ‘eontession 0 of judgment at issue here

“jurisdictionally void on as-applied’ due process ‘rounds:

a. Mr. Mason was induced into signing the eoinfedsion of judgment by threats of

garnishment that could not legally be conducted due to the age: and insufficient
documentary evidence of the loan. - oe - :
b. Mr. Mason was unrepresented by counsel at the time this confession was executed,

there was a massive imbalance of bargaining power and sophistication between her

14

Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 18 of 23

E-FILED 2023 NOV, 21:4:24 PM POLK - CLERK OF DISTRICT COURT

as an individual consumer and a lender. with thousands of loans in its portfolio, and
the confession and ompanying settlement agreement were contracts of adhesion.
c. Mr. Mason received 1 0: actual consideration. for her complete waiver of all rights to

receive notice of and, contest the judgment.

61, Mr. Mason i is entitled ‘ode 13 atory relief under lowa R. Civ, P. 1.1101 ef seq., in addition
is; Counts: IL & I below, on both the validity of the judgment
A 1135604 and the ° constitutionality of lowa Code Chapter

to statutory provisions: ho!
in Polk County Case.N

gage in a: practice or-act the. person knows or reasonably
ctice, deception, fraud, falsé pretense, or false promise,
céalment, ‘suppression, or omission of a niaterial fact,
sly: upon. thé unfair practice; - deception, fraud, false
ges | presentation, concealment, suppression, or omission
in connection.’ éttisement, sale, or lease of consumer: merchandise, or
4 > the solicitation of contributions for charitable purposes.

65. The prohibited practice m st 6 related to to a material fact. lowa’ Code § 714H1.3(1).
66. “Deception” ‘means. an ractice. ‘that. 4 is ‘likély: to mislead a substantial ‘number of
: consumers as to a matetia tor facts. Jowa Code § 714H. 25) .

i it. is. “likely to: affect a consumer s conduct or decision
with regard to a. produc Or | rvice. ”, ’ State ex rel, Miller ¥. Rahmani, 472. N.W.2d 254, 258

(lowa 1991). A statement. ihich’ is litezaily true may nonetheless be deceptive. Id.

67.A mistepresentation is i

68. ISLLC’s actions were “deceptive” under IPRACFA for reasons not limited to:

15
Case 4:23-cv-00515-RGE-WPK Document 1-2. Filed 12/20/23 Page 19 of 23
E-FILED 2023 NOV 21 4:24 PM POLK “ CLERK OF DISTRICT COURT

a. Representing the debt as valid even though it was subject to challenge under statute
of frauds, statute of limitations, and other grounds.
b. Threatening garnishment on:a time-barred debi, a F remedy not allowed by law, in
order to induce the signing of the confessions!
69. An “unfair practice” means the same as defined i in section 714, 16. Iowa Code § 714H. 2(9).

An unfair practice is an ‘act or practice which at

substantial; unavoidable injury to
consumers that is. not outweighed by: any: consi i
practice produces. Iowa Code § 714. 16(1)(n).

70. State and federal courts alike consider an unfair piacti

it Gompetitive benefits which the

) be “nothing more than conduct
a court of equity would consider unfair. ” State ex rél'Miller % Cutty Des Moine es Camping
Club, Inc., 694 N.W. 2d 518,525 (lowa 2005) (co ecting cases). The same courts have
found that “statutes that prohibit “unfair practices” are, designed to infuse flexible equitable

principles - into consumer protection. Jaw. so ‘that:

Ir ay” respond, to ‘the ® myriad of
. unscrupulous business practices modern’ consumers face. ld: . ,
71. Iowa’s. definitions of unfair. practices themselves. are: sooted m and Strongly: influenced by .

the. regulations and. policy, interpretations of the FTC

.caselaw those materials have

generated. ‘As noted, ‘the FT C ’g Credit Practices Rule ‘has: prohibited th the use of confession

clauses in consumer transactions since: 1984:

In connection: with the extension of credit to consitiiets' in or affecting c commerce,

- as commerce is. defined in the Federal Trade Comission Act, it is an unfair act or
practice within the meaning of Section 5 of that Act fora lender or retail installment
seller directly or indirectly to take or receive fro suimer an obligation that...
[cJonstitutes or contains a cognovit ‘or ‘confes sion” of judgment «., . Warrant of

attorney, or other waiver of the right t to notice-and the opportunity to be heard in .
the event of suit or process thereon." ups ,

16C.ER. § 444.2(a)(1). mE

72. The rulemaking materials the FTC employed in promulgating this tule aniilyze confessions
of judgment under the same factors the Towa Legislature has provided in unfairness
analysis — an injury to consumers that is: ) substantial, (2) unavoidable, and (3) is not
outweighed by the countervailing consumer or competitive benefits the practice provides.
Trade Regulation Rule: Credit Practices, 49 FR 7740 eich 1, 1984). accord lowa Code
§ 714.16(1}(n).- .

16
Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 20 of 23

E-FILED 2023 NOW.21 4:24 PM POLK - CLERK OF DISTRICT COURT

a. The FTC found that “confessions of j udgment cause injury by depriving consumers

of: notice of a'isuit ot hearing and the opportunity to. appear and present any

meritorious claims of defenses.1. ‘[o]nce obtained, the confessed judgment can be
turned into a lien. on the: consumer’ s real and personal property.” Trade Regulation
Rule: Credit Practice: “49 FR. at TTAB,

b. The. mle i volved empiical data ‘gathered from surveys of low-income

COUNT WI DEPRIVATION: ‘OF DUE PROCESS OF LAW IN VIOLATION OF THE
FOURTEENTH AMENDMENT TO THE U.S. CONSTITUTION — 42 U.S.C. § 1983

17
Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 21 of 23

E-FILED 2023 NOV 21 4:24 PM POLK - CLERK OF DISTRICT COURT

76, As outlined in detail above, ISLILC, acting under color of law for purposes of 42 U.S.C.

77.

78.

1983, deprived Mr. Mason of due process of law. by utilizing a statutory process that is
facially unconstitutional in that it does not provide adequate safeguards for a court to gauge
whether this waiver of rights was voluntarily, knowingly, and intelligently given.

In addition, as outlined in detail above, ISLLC, acting under color of law, deprived Mr.
Mason of due process of law by obtaining a confession of judgment that was, under the
circumstances of her case, not voluntarily, intelligently, or knowingly given.

Although a private actor, ISLLC is-nevertheless jiable under 42 U.S.C, 1983 because it
“has acted together with or has obtained. significant aid from state officials” in obtaining a
judgment by confession which violates Mr, Mason’s constitutional rights. See Lugar v.
Edmonson Oil Co., 457 U.S, 922, 935 (1982) (creditor using unconstitutional pre-judgment
attachment procedures acting in concert with state officials sufficient to invoke color of
law and thus 1983 liability), coed

79, As the United States Supreme Court stated in Fuentes:

80.

The requirement of notice and an opportunity to be heard raises no impenetrable
barrier to the taking of a person's possessions. But the fair process of decision
making that it guarantees works, by itself, to protect against arbitrary deprivation
of property. For when a person has an opportunity to'speak up in his own defense,
and when the State must listen to what he has to say, substantively unfair and
simply mistaken deprivations of property interests. can be prevented. It has long
‘been recognized that ‘fairness can rarely- be obtained by secret, one-sided
determination of facts decisive of rights... And no better instrument has been
devised for arriving at truth than to give a person in jeopardy of serious loss notice
of the case against him and opportunity to meet it.

‘Fuentes, 407 U.S, at 81. Mr, Mason was denied these most basic constitutional
protections enjoyed by civil litigants by ISLLC.

In addition, as explained by the FTC in promulgating the Credit Practices Rule:

Judgment debtors whose property is encumbered. through the existence of a
creditor’s lien lose the full use and enjoyment of their property. Debtors are
unlikely to be able to sell it, for example, or to use it as collateral while it is subject
to a lien. Although the debtor may eventually prevail on the metits and dissolve
the lien, the post-judgment rights provided by statute cannot cure the deprivation
experienced while the action is pending. Even a temporary and non-final
deprivation of the use of one’s property is a matier of constitutional significance
and invokes the protection of the due process clause.

Trade Regulation Rule: Credit Practices, 49 FR 7740-01, 7749 (March 1, 1984).
See also lowa Code § 624,23, oo

18

Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 22 of 23
E-FILED 2023 NOV.21'4:24 PM POLK’- CLERK OF DISTRICT COURT

81. A person injured on a claim actionable under 42 U.S.C. 1983 is entitled to compensatory
damages, punitive damagés, equitable relief, attorney fees, and costs. 42 U.S.C. §§ 1983,
1988, . me, et . . .

COUNT IV=U JUST E ENRICHMENT ! RESTITUTION
82. * “Whete pripaity has been

éived as a a ‘resuli of a ‘judgment improperly obtained equity
may order the respondent to revonvey it” ‘City of Chariton v. LC. Blunk Construction Co.,

was ‘at the ‘expense of the plaintiff} and (3) it is unjust to
ander the circumstances, Pro Com., LLC v. K & L
27 (lowa Ct. App. 015) (internal quotations and citation

tion o} fay emount garnished, levied, assigned, attached,

A. Declaratory relief hol
on july 19, 2016 to bev da

B. Declaratory relief holding 16 : a Code Chapter 676 to be an unconstitutional deprivation

th Fourteenth Amendment of the U.S. Constitution and

, Article 1, Section 9 of the Jowa Constitution, both facially and as applied to the

circumstances of the Pet on

id une forceable;

of due process: ‘of law unde

C, Injunctive relief under low ule of Civil Procedure 1.1501 et seg., lowa Code § 7141.5,

and 42 U.S.C. 1983, en ining ‘the direct or indirect enforcement of the judgment entered
in Polk County Case No, LACL 135604;
D.. Compensatory damages under 42 US. Cc. 1983 in an amount to be determined at trial;

‘19

Case 4:23-cv-00515-RGE-WPK Document 1-2 Filed 12/20/23 Page 23 of 23

E-FILED 2023 NOV 21 4:24 PM POLK - CLERK OF DISTRICT COURT

BK, Actual damages under IPRACFA, Iowa Code Chapter 7144, 7 plus punitive damages of up
to three times actual damages;

F. Reasonable attorney fees and costs pursuant to 28 U. 8. c. 5 1920, 42 U.S.C, § 1988, and
lowa Code 714H. 33 :

G. Restitution for any amounts by which ISLC wa unjustly enriched; and —

H. Any other relief the Court deems just a and equitable under the circumstances.

Respectfully shite

‘Des Moines, lowa 0309 -

(515) 243-1193. Ee
jwicbold@iowalaw.c org a
ATTORNEY PETITIONER | os,

s/ Alex Kornya SRS
- Alexander Vincent Konya, ATOOO9810
lowa Legal Aid ©.
666 Walnut: St., 25th Floor
Des’ ‘Moines, Towa 50309
(515) 243- 1193: VO:

20
